

Matter of Seibert (2018 NY Slip Op 08421)





Matter of Seibert


2018 NY Slip Op 08421


Decided on December 6, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 6, 2018
[*1]
In the Matter of CORINNE RUTH SEIBERT, an Attorney.
 
(Attorney Registration No. 4769345)

Calendar Date: December 3, 2018

Before: Garry, P.J., McCarthy, Egan Jr., Lynch and

	 Pritzker, JJ.

Corinne Ruth Seibert, Plainville, Connecticut, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Corinne Ruth Seibert was admitted to practice by this Court in 2010 and lists a business address in Hartford, Connecticut with the Office of Court Administration. Seibert now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Seibert's application.
Upon reading Seibert's affidavit sworn to October 30, 2018 and filed November 2, 2018, and upon reading the November 27, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Seibert is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., McCarthy, Egan Jr., Lynch and Pritzker, JJ., concur.
ORDERED that Corinne Ruth Seibert's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Corinne Ruth Seibert's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Corinne Ruth Seibert is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Seibert is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another [*2]an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Corinne Ruth Seibert shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








